Case 1:24-cv-03571   Document 1-1   Filed 12/20/24   Page 1 of 8




            EXHIBIT A
           Case 1:24-cv-03571           Document 1-1         Filed 12/20/24       Page 2 of 8




March 20, 2024

Submitted via email (Chantelle.Britton@hrsa.hhs.gov)

Chantelle Britton
Acting Director, Office of Pharmacy Affairs
Health Resources and Services Administration
Department of Health and Human Services
5600 Fishers Boulevard
Rockville, MD 20857

Re:     Improper Certi�ication and Recerti�ication of Entities Claiming 340B Eligibility as STD
        Funding Recipients under Subsection (a)(4)(K)
Dear Acting Director Britton:
I write on behalf of Eli Lilly and Company to raise concerns about troubling developments in the
management of the 340B Drug Pricing Program by the Health Resources and Services Administration.
It has come to Lilly’s attention that HRSA has certi�ied and recerti�ied, as 340B-eligible covered
entities, numerous providers that are not eligible to participate in the 340B program, thereby
enabling improper access to discounted pricing and extensive diversion of 340B drugs to non-
patients.
HRSA’s decisions appear to stem from a misapplication of 42 U.S.C. § 256b(a)(4)(K). That provision
confers 340B eligibility on certain entities that receive federal grant “funds . . . through a State or unit
of local government” for treating sexually transmitted diseases or tuberculosis. In apparent reliance
on that provision, HRSA has certi�ied and recerti�ied entities that are not eligible for one or more of
the following reasons: (1) They are “subgrantees” who have received funds from other covered
entities, not grantees who have received funds from state or local governments; (2) they have
received only in-kind contributions such as condoms, not grant “funds” (i.e., cash); (3) they do not
offer treatment for STDs or TB, nor for any other service within the scope of the grant under which
they claim eligibility; and (4) they regularly transfer 340B drugs to non-patients, contrary to the
statutory de�inition of “covered entity.”
Certi�ication or recerti�ication of these entities violates the 340B statute. As detailed below, Lilly
writes to request that HRSA rescind its certi�ication of entities that do not meet the statutory criteria
to qualify for 340B-discounted pricing. Lilly further asks HRSA to remove from its website its sub-
regulatory guidance asserting that entities may qualify for the 340B program under Section
256b(a)(4)(K) through receipt of in-kind contributions, which is inconsistent with the 340B statute.
Because the harm caused by HRSA’s erroneous certi�ication and recerti�ication decisions is ongoing
and cumulative, Lilly asks for a response to this letter by April 19, 2024.
Background
Last year, Lilly unwittingly provided millions of dollars of 340B price concessions to providers that
are HRSA-certi�ied as 340B covered entities based on their receipt of STD or TB grant funding, even
though these entities appear to be ineligible for the program. The amounts provided have grown in
recent years by a factor of four or more. The ineligibility of the entities in question is apparent from
           Case 1:24-cv-03571           Document 1-1          Filed 12/20/24        Page 3 of 8
Acting Director Britton
March 20, 2024
Page 2 of 7

reviewing entries in HRSA’s covered entity database, the 340B Of�ice of Pharmacy Affairs Information
System.
One provider in particular, Sagebrush Health Services (Sagebrush), illustrates the problem.
Sagebrush has 11 facilities in Nevada, Connecticut, and South Carolina. 1 Yet on OPAIS, 60 separate
covered entities are marked as “participating” in the 340B program as “Subdivisions” of Sagebrush,
and all of them claim covered-entity status as STD clinics under Section 256b(a)(4)(K). From their
names and websites, however, they appear to provide services like immunology, gastroenterology,
or rheumatology, rather than STD treatment.
Most of these supposed covered entities appear to lack a meaningful corporate relationship with
Sagebrush. For example, six of them appear to be locations of the Skin and Cancer Institute (SACI), a
multi-state provider with locations in Nevada, California, and Arizona. 2 On OPAIS, these SACI listings
show a “grant number” associated with an STD grant award from the Centers for Disease Control and
Prevention (CDC) to the Nevada Department of Health and Human Services (Nevada DHHS). 3 Under
“Nature of Support,” each SACI entity lists “Direct Funding (dollars received from CDC or an
intermediate organization)” or “In-Kind products or services (see note below; must have been
purchased with section 318 funds).” In the field labeled “Please Describe the ‘in-kind’ Support,” each
of the SACI entities lists a variation of “condoms,” “marketing material,” or both.
Based on its investigations, Lilly understands the relevant circumstances to be as follows. The Nevada
DHHS receives funds from the CDC under an STD grant. The Nevada DHHS uses a portion of those
funds to purchase condoms and marketing materials, some of which it provides as in-kind donations
to various Nevada health providers, including Sagebrush. Sagebrush then transfers some of those
materials to other for-profit entities such as the SACI entities. Those entities, as subgrantees, then
apply for certification as “subdivisions” of Sagebrush. Finally, HRSA has certified—and later
recertified—these entities as 340B-eligible.
The problematic nature of the SACI entities’ claims of 340B eligibility is readily apparent. If these
entities were receiving CDC funding directly from the Nevada DHHS, of course, they would
presumably be listed as independent covered entities, not as “subdivisions” of Sagebrush. Nor do
these providers, despite their claims of eligibility through their receipt of STD grant funds, appear to
provide STD treatment services. As noted, they have other practice areas such as rheumatology. Yet
HRSA has certified—and, in some cases, repeatedly recertified—these entities as eligible for 340B
discounts.
This problem is not limited to Sagebrush and its supposed “subdivisions.” Lilly’s review of OPAIS has
identified dozens of instances in which entities are registered as STD clinics based on in-kind
donations—sometimes received from other covered entities—including several that are listed as
“subdivisions” of a single entity to which they have no apparent relationship. These entities also do



1 Sagebrush Health, Locations, https://sagebrushhealth.com/locations/.
2 See Skin and Cancer Institute, Locations, https://skinandcancerinstitute.com/locations/.
3 See, e.g., 340B Office of Pharmacy Affairs, HRSA, STD89027 Sagebrush Health Services (Active),
https://340bopais.hrsa.gov/cedetails/93665 (listing Grant Number NH25PS005179); see HHS, Strengthening
STD Prevention and Control for Health Department (STD PCHD), https://taggs.hhs.gov/Detail/Award
Detail?arg_AwardNum=NH25PS005179&arg_ProgOfficeCode=143 (HHS grant-tracking page for CDC grant
award number NH25PS005179).
          Case 1:24-cv-03571          Document 1-1         Filed 12/20/24       Page 4 of 8
Acting Director Britton
March 20, 2024
Page 3 of 7

not appear to treat STDs; as a result, any 340B purchases they make are being diverted outside the
program to non-patients. Yet HRSA has certified and recertified such entities repeatedly.
These improper certifications harm the integrity of the 340B program and impose substantial costs
on manufacturers. While Lilly does not sell products that treat STDs or TB, entities claiming eligibility
as STD and TB clinics sought (and received) $3.3 million in 340B chargebacks on gross purchases of
$5.8 million in 2023. The number of purported covered entities with no connection to STD or TB
treatment who have obtained certification from HRSA also appears to be increasing. From 2022 to
2023, the number of STD and TB clinics purchasing Lilly products increased by over 60%, and the
total amount of requested discounts increased several-fold.
HRSA’s Certi�ication and Recerti�ication of Certain STD and TB Clinics Is Improper
HRSA’s certi�ication and recerti�ication of entities like Sagebrush and its purported “subgrantees”
violates the 340B statute on several grounds. To qualify for and maintain certi�ication as a 340B-
eligible covered entity under Section 256b(a)(4)(K), a provider must, at minimum: (1) receive grant
funds through a state or local government, not through another covered entity; (2) offer treatment
for STDs or TB; (3) receive cash funds, not in-kind contributions; and (4) furnish 340B-discounted
drugs only to patients who receive such treatment.
First, HRSA has no statutory authority to certify “subgrantee” entities that receive grant funds from
other grantees. Section 340B only renders eligible those entities that receive STD or TB grant funds
“through a State or unit of local government.” 42 U.S.C. § 256b(a)(4)(K). That provision refers to
federal grants that are issued (for example) to public health agencies, which may further distribute a
portion of the grant funding to local providers offering STD and TB care—that is, to grantees. The
statute does not authorize such a grantee to pass on 340B eligibility even further down the chain, by
transferring a portion of its own grant funds to other “subgrantee” providers. Yet HRSA appears to
have certified numerous subgrantees, including providers that claim to be “subdivisions” of entities
like Sagebrush that have obtained grant funds from state or local governments.
In addition to violating the statute’s clear terms, this practice has no limiting principle or logical
stopping point. It would allow a pool of STD grant funds to be transferred ad infinitum from provider
to provider to provider—all of whom could declare themselves covered entities because the funds
once passed, however distantly, through a state agency. The care and precision with which Section
340B identifies and defines the list of eligible covered entities underscores that Congress never
intended to create such a perpetually cascading authorization structure. Nor has Congress ever
empowered covered entities to unilaterally create other covered entities, such as by choosing
providers on whom to bestow a share of their grant funds.
Second, HRSA lacks authority to certify entities that do not use 340B-discounted drugs to treat STDs
and TB. To qualify as a covered entity by virtue of receiving funds “under” a federal STD grant, the
funds must be for the “treatment of sexually transmitted diseases.” 42 U.S.C. § 256b(a)(4)(K). A similar
instruction exists for TB funding. See id. (“treatment of tuberculosis”). These provisions indicate
Congress’s intent that, for an entity to qualify for covered-entity status based on its receipt of funds
“under” an STD or TB grant, the entity must use those funds to treat STDs or TB. Congress could not
reasonably have intended for state and local governments to give federal STD or TB grant funds to
providers that do not perform the services that the grant funds are intended to support, nor did
Congress intend for such entities to receive 340B discounts for drugs not used to treat STDs or TB.
           Case 1:24-cv-03571           Document 1-1          Filed 12/20/24        Page 5 of 8
Acting Director Britton
March 20, 2024
Page 4 of 7

The history of the 340B statute supports this reading of the text. Congress enacted the 340B program
as part of the Veterans Health Care Act of 1992, Pub. L. 102-585, 106 Stat. 4943. The original version
of the statute covered only disproportionate share hospitals. But a draft of the bill directed HHS to
study the feasibility and desirability of adding additional covered-entity categories, including entities
receiving federal STD or TB funds. See H.R. Rep. No. 102-384, pt. 2, at 5 (1992). The relevant House
Committee report stated that the bill required HHS to consider covered-entity status for “clinics
providing … sexually transmitted disease treatment, or tuberculosis treatment services with Federal
block grant funds.” Id. at 13. The bill also directed HHS to study the potential inclusion within the
340B program of “entities providing treatment for sexually transmitted diseases or tuberculosis and
receiving Federal funds through a State or unit of local government.” Id. at 18-19. This proposal was
ultimately adopted in Section 256b(a)(4)(K). The statutory history thus confirms that Congress
intended to confer 340B eligibility only on entities using those funds to “provid[e] treatment for”
STDs or TB. Id.
HRSA acknowledges this limitation in guidance on its website, which states that STD clinics
participating in the 340B Program “may purchase and dispense any 340B drugs associated with a
service for which the covered entity is responsible, including contraceptives, to that patient, to the
extent it . . . is consistent with the scope of the grant.” 4 Under that guidance, entities like Sagebrush and
its associated subgrantees do not qualify for 340B-discounted pricing for Lilly’s products—which are
not indicated for treatment of STDs or TB—because they do not use those products to perform
services within the scope of any STD or TB grant.
Third, HRSA cannot certify covered entities that claim 340B eligibility via receipt of in-kind
contributions. The 340B statute provides that an “entity receiving funds under [a federal STD or TB
grant] through a State or unit of local government” may qualify as a covered entity if it is certified by
the Secretary and meets all other statutory requirements. 42 U.S.C. § 256b(a)(4)(K) (emphasis
added). The plain meaning of “funds” is “money, often money for a specific purpose.” 5 Relying on
dictionary definitions, courts have similarly “define[d] ‘funds’ as ‘[a] sum of money or other liquid
assets established for a specific purpose.’” Rider v. Uphold HQ Inc., 657 F. Supp. 3d 491, 498 (S.D.N.Y.
2023) (quoting Fund, Black’s Law Dictionary (11th ed. 2019)); see United States v. Day, 700 F.3d 713,
725 (4th Cir. 2012) (collecting definitions of “funds”). The definition in Section 256b(a)(4)(K) thus
refers to entities that receive money, and it does not encompass entities that receive goods or
services.
This plain meaning is reinforced by the fact that the provision governing federal STD funds, id.
§ 247c(b)-(d), itself authorizes States and governmental units to receive “grants,” a term that
similarly refers only to money: A grant is “an amount of money given especially by the government
to a person or organization for a special purpose.” 6 This provision also expressly distinguishes
“grants” from “supplies or equipment,” by authorizing the Secretary to “reduce [a] grant by the fair
market value of any supplies or equipment furnished to such recipient.” Id. § 247c(e)(4). In allowing
the Secretary to “reduce [a] grant by the fair market value of any supplies or equipment,” the



4 340B FAQs, HRSA, https://www.hrsa.gov/opa/faqs (emphases added).
5 Cambridge Dictionary, https://dictionary.cambridge.org/us/dictionary/english/funds. The word is similarly

limited to a monetary meaning if “funds” is taken to be the plural of “fund.” See Cambridge Dictionary,
https://dictionary.cambridge.org/us/dictionary/english/fund.
6 Cambridge Dictionary, https://dictionary.cambridge.org/us/dictionary/english/grant.
           Case 1:24-cv-03571            Document 1-1          Filed 12/20/24        Page 6 of 8
Acting Director Britton
March 20, 2024
Page 5 of 7

provision makes clear that the monetary “grant” is distinct from those “supplies or equipment.” 7
Several public-health grant provisions adjacent to the 340B statute also expressly refer to “in kind”
contributions such as “equipment,” see, e.g., 42 U.S.C. §§ 254c-7(a)(4)(B), 254r(b)(3), 254c-19(f),
256g(d), showing that Congress “knows how to” include in-kind contributions when it wants to,
Pereida v. Wilkinson, 592 U.S. 224, 232 (2021).
Despite the 340B statute’s plain language and context, HRSA has posted guidance to its website that
purports to recognize 340B eligibility via receipt of in-kind contributions, including “goods and
services.” 8 This guidance does not analyze Section 256b(a)(4)(K) or explain how an entity’s receipt
of in-kind contributions can be considered “receiving funds.” In any event, Section 340B does not
authorize the agency to engage in rulemaking on this issue. See PhRMA v. HHS, 43 F. Supp. 3d 28, 41-
43 (D.D.C. 2014); PhRMA v. HHS, 138 F. Supp. 3d 31, 48 (D.D.C. 2015). HRSA has also offered no
reasoning to support its view, which would preclude the application of judicial deference. HRSA’s
guidance on covered-entity eligibility based on the receipt of in-kind contributions thus conflicts with
the 340B statute and should be withdrawn.
Fourth, HRSA may not recertify entities that have transferred 340B-discounted drugs to individuals
who do not receive STD or TB treatments and thus are not the entities’ “patients” under the statute.
Under Section 340B, “the term ‘covered entity’ means,” among other things, “an entity that meets the
requirements described in paragraph (5).” 42 U.S.C. § 256b(a)(4). The referenced paragraph includes
the 340B statute’s anti-diversion requirement, which provides that covered entities must not “resell
or otherwise transfer the drug to a person who is not a patient of the entity.” Id. § 256b(a)(5)(B)
(emphasis added). An entity that engages in diversion of 340B drugs to non-patients thus no longer
“meets the requirements described in paragraph (5),” and no longer qualifies as a covered entity
eligible for recertification.
HRSA’s guidance states that an individual is a patient of a federal STD or TB grant recipient “only if .
. . the individual receives a health care service or range of services from the covered entity which is
consistent with the service or range of services for which grant funding … has been provided to the
entity.” 61 Fed. Reg. 55,156, 55,157-58 (Oct. 24, 1996). Guidance on HRSA’s website similarly reflects
that definition, stating that “STD (318 grantee) clinics that participate in the 340B Program may
purchase 340B drugs (including prescribed contraceptives), for grantee patients that meet the
patient definition criteria,” and that an STD clinic “may purchase and dispense any 340B drugs
associated with a service for which the covered entity is responsible, including contraceptives, to that
patient, to the extent it aligns with [the] patient definition and is consistent with the scope of the grant.” 9
Therefore, when a self-identified STD or TB clinic transfers 340B-discounted drugs to individuals
who do not receive STD or TB treatment—i.e., to non-patients—it violates the anti-diversion
requirement and renders that entity ineligible for future participation in the 340B program.
Indeed, HRSA has a statutory obligation to “evaluate the validity of subsequent [i.e., post-
certification] purchases by [certified] entities” as part of any “recertification.” 42 U.S.C.

7 The federal TB grant provision contains similar language. See 42 U.S.C. § 247b-6(e)(2); see also id. § 247b-

6(d)(3)(A), (e)(1).
8 340B FAQs, HRSA (“Qualifying in-kind contributions must be paid for by section 317 or 318 grant funds to

qualify a site as 340B eligible. In-kind contributions may be in the form of real property, equipment, supplies
and other expendable property, and goods and services directly benefiting and specifically identifiable to the
project or program.”), https://www.hrsa.gov/opa/faqs.
9 Id. (emphasis added).
           Case 1:24-cv-03571          Document 1-1         Filed 12/20/24       Page 7 of 8
Acting Director Britton
March 20, 2024
Page 6 of 7

§ 256b(a)(7)(E). HRSA thus must confirm that each covered entity’s purchases remain “valid”—
i.e., compliant with all eligibility criteria, including the anti-diversion provision. The statute does not
allow HRSA to recertify entities, like Sagebrush and its affiliated subgrantees, that routinely provide
340B drugs to patients in connection with care outside the scope of their STD grants. And if HRSA
has made a decision not to examine whether covered entities applying for recertification are engaged
in diversion, then that decision would also be unlawful.
Conclusion
For the reasons stated, Lilly respectfully requests that HRSA immediately rescind its certi�ication of
Sagebrush and its af�iliated subgrantees:

 340B ID        Sagebrush Entity
 STD06042       Rheumatology Specialists of Connecticut
 STD06488       Southbury Clinic - CT
 STD06489       Southington Clinic - CT
 STD064891      Southington PrEP Clinic
 STD064892      Connecticut Home Infusions
 STD068107      Danbury Rd Clinic
 STD89011       Henderson Satellite Clinic - NKDHC
 STD89012       Dr. S. Steven Kim, MD - MDVIP
 STD890141      Doctors Center at Redrock Warm Springs Clinic - Desert Springs
 STD890142      Forte Family Practice Warm Springs Clinic - Desert Springs
 STD890181      Total Family Care Specialists - Desert Springs
 STD89027       Mesquite SACI
 STD89032       North Las Vegas Clinic - KSOSN
 STD890481      Pahrump SACI
 STD890482      Pahrump Clinic - KSOSN
 STD89052       Southeast Clinic - NKDHC
 STD890521      Henderson SACI
 STD890523      NV Family Care Center
 STD890524      Sun Medical Services - Desert Springs
 STD890525      Gautham G. Reddy MD - Desert Springs
 STD890526      Anthem Medical Center - Desert Springs
 STD890527      Siena Hills Primary Care - Desert Springs
 STD890741      Henderson Clinic - KSOSN
 STD891031      Fort Family Practice Rainbow Clinic- Desert Springs
 STD891045      ProCare Medical Group Nellis Clinic- Desert Springs
 STD891061      Shadow Lane Neurology
 STD891062      Northeast Clinic - NKDHC
 STD891063      Rancho clinic - KSOSN
 STD891132      Battleborn Health Care
 STD89117       Body and Mind Health Partners- Desert Springs
 STD89118       Rainbow Rheumatology
 STD891182      Southwest Clinic - NKDHC
 STD891183      ProCare Medical Group Rainbow Clinic- Desert Springs
 STD891191      A-P Medical Group
 STD89123       Eastern Rheumatology
 STD891232      Green Valley Primary Care - Desert Springs
          Case 1:24-cv-03571          Document 1-1        Filed 12/20/24       Page 8 of 8
Acting Director Britton
March 20, 2024
Page 7 of 7

 340B ID        Sagebrush Entity
 STD891281      Fire Mesa ID
 STD891283      Northwest Clinic - NKDHC
 STD891284      Fire Mesa Rheumatology
 STD891285      Box Canyon SACI
 STD891286      Dr. Ann Wierman, MD
 STD891287      Nevada Home Infusions
 STD891288      Doctors Center at Redrock Tenaya Way Clinic - Desert Springs
 STD891289      Irfan Tahir MD - Desert Springs
 STD89129       Pointe Plaza Clinic - KSOSN
 STD891291      Blue Point Medical Group - Desert Springs
 STD891292      Fort Family Practice Cheyenne Clinic- Desert Springs
 STD89144       Summerlin Clinic - KSOSN
 STD89148       Fort Apache SACI
 STD891482      Southern Hills Clinic - KSOSN
 STD891483      LifeCare Clinic
 STD891484      Doctors Center at Redrock Apache Clinic - Desert Springs
 STD891485      ProCare Medical Group Fort Apache Clinic- Desert Springs
 STD89149       Hummingbird Medical Group
 STD891491      Centennial SACI
 STD891493      Centennial Hills Clinic - KSOSN
 STD891691      Central Clinic - NKDHC
 STD89178       ProCare Medical Group Blue Diamond Clinic- Desert Springs
 STD893012      Sanderling Renal Services-Ely Clinic
 STD89511       Reno Clinic

Lilly also asks HRSA to rescind its certi�ication of any other “subgrantee”; any entity claiming
eligibility as an STD or TB clinic that does not provide those services or use 340B drugs to treat those
conditions; any entity that claims eligibility by receiving only in-kind contributions, rather than
funds; and any STD or TB funding grantee that diverts 340B drugs to non-patients by using such drugs
to perform services outside the scope of their grant. Lilly further requests that HRSA immediately
withdraw its online guidance purporting to authorize 340B eligibility via in-kind contributions.
We appreciate your attention to these important matters and look forward to your prompt response.
Lilly would also welcome the opportunity to provide additional information about the program
abuses that it has observed and to meet with HRSA to further discuss these issues with the agency.
Best regards,



Derek L. Asay
Senior Vice President – Government Strategy & Federal Accounts
